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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OKLAHOMA

    KEJUANA SHONTA MORRISON                  )
                                             )
                 Plaintiff,                  )
                                             )
    v.                                       )        NDOK Case No: 24-cv-00291-JFJ
                                             )
    G4S SECURE SOLUTIONS (USA), INC., a )             Removed from Tulsa County
    foreign corporation,                     )        Case No: CJ-2023-3514.
    UNIVERSAL PROTECTION SERVICE, LP, )
    d/b/a ALLIED UNIVERSAL SECURITY )
    SERVICES, a foreign limited partnership, )
    JOHN DOE, individually,                  )
                                             )
                 Defendants.                 )
                                             )
                                             )
                                             )

            JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, Kejuana Shonta Morrison

   hereby stipulates to a dismissal with prejudice of all claims and causes of action asserted

   by Plaintiff against all Defendants in the above-styled cause. Each party shall bear its own

   attorney fees and costs.

                                                    Respectfully submitted,

                                                    /s/ Stan Koop _______________________
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